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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Criminal Case No. 97-81440
                                                     Honorable Patrick J. Duggan
GEORGE BLAIR,

           Defendant.
____________________________/

        OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR A
        REDUCTION IN A SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2)

                            At a session of said Court, held in the U.S.
                               District Courthouse, Eastern District
                               of Michigan, on December 17, 2009.

                PRESENT:         THE HONORABLE PATRICK J. DUGGAN
                                 U.S. DISTRICT COURT JUDGE

         In February 1998, following a bench trial, Defendant George Blair was convicted

of five counts of possession with intent to distribute controlled substances. At his

sentencing in September 1998, Defendant was held accountable for 49 grams of heroin

and 357 grams of crack cocaine or a total of 7,189 kilograms of “marijuana equivalents.”

This resulted in a recommended guidelines range of 262-327 months under the United

States Sentencing Guidelines. The Court imposed a sentence of 262 months.

         On May 22, 2009, following the recent amendments to the sentencing guidelines

retroactively reducing the offense level for cocaine base, the parties stipulated that

Defendant met the criteria for a reduction in his sentence pursuant to the amendment.
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(Doc. 210.) The parties further stipulated that Defendant was eligible for a two-level

reduction in his base offense level pursuant to the amendment. (Id.) This reduced

Defendant’s applicable guideline range to 210 to 262 months. On May 28, 2009, this

Court re-sentenced Defendant to 210 months.

       Presently before the Court is Defendant’s motion to reduce his sentence further

pursuant to 18 U.S.C. § 3582(c)(2), filed October 30, 2009. Defendant relies on pending

federal legislation in support of his motion. Defendant also relies on cases decided after

the Supreme Court issued its decision in United States v. Booker, 543 U.S. 220, 125 S. Ct.

778 (2005), in which the courts disregarded the crack cocaine guidelines and sentenced

the defendants as if they were convicted of powder cocaine offenses: United States v.

Lewis, 623 F. Supp. 2d 42 (D.D.C. 2009); United States v. Gully, 610 F. Supp. 2d 633

(N.D. Iowa 2009). Neither authority supports a further reduction in Defendant’s

sentence.

       A district court is authorized to modify a defendant’s sentence only in those

instances where Congress has granted it jurisdiction to do so. United States v. Blackwell,

81 F.3d 945, 947 (10th Cir. 1996). In § 3582(c), Congress provided that a court may not

modify a term of imprisonment once it has been imposed except in the three limited

circumstances set forth in the statute. United States v. Smartt, 129 F.3d 539, 540 (10th

Cir. 1997) (citing 18 U.S.C. § 3582). The Sixth Circuit Court of Appeals has summarized

those circumstances in finding that the trial court in the case before it lacked jurisdiction

to reduce the defendant’s sentence:

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              Under 18 U.S.C. § 3582(c), a trial court may amend a
              sentence of imprisonment only where one of the
              circumstances set forth in that statute is present. These
              factors include: 1) where the Bureau of Prisons has requested
              the modification based upon extraordinary and compelling
              circumstances warranting a reduction or the fact that the
              defendant is at least seventy Years of age, has served at least
              thirty years in prison and presents no danger to the safety of
              the community, see 18 U.S.C. § 3582(c)(1)(A)(i) and (ii); 2)
              where modification is permitted under Fed. R. Crim. P. 35,
              see 18 U.S.C. § 3582(c)(1)(B); or 3) where the guideline
              range for the offense of conviction has been retroactively
              lowered, see 18 U.S.C. § 3582(c)(2).

United States v. Benjamin, No. 97-2147, 1999 WL 685924, at *4 (6th Cir. 1999)

(unpublished opinion) (Attachment A). Section 3582(c) also authorizes a district court to

“modify an imposed term of imprisonment to the extent otherwise expressly permitted by

statute.” 18 U.S.C. § 3582(c)(1)(B).

       In this case, the Bureau of Prisons has not requested a modification of Defendant’s

sentence and there is no basis for a modification under Federal Rule of Criminal

Procedure 35. While the guideline range has been lowered since Defendant initially was

sentenced, he already received the reduction that the amendment authorized the Court to

make when he was resentenced on May 28, 2009. The amendment altered the drug

quantity table set forth in U.S.S.G. § 2D1.1 by lowering the base offense level for crack

cocaine offenses by two levels. This Court is not authorized to lower Defendant’s

sentence further. See United States v. Washington, 584 F.3d 693 (6th Cir. 2009).

       As the Sixth Circuit stated in Washington:

              The policy statement [applicable to § 3582] provides that the

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             sentencing court may not reduce a sentence below the new
             Guidelines range: “the court shall not reduce the defendant’s
             term of imprisonment under 18 U.S.C. § 3582(c)(2) and this
             policy statement to a term that is less than the minimum of the
             amended guidelines range determined under § 1B1.10(b)(1).”

Washington, 584 F.3d at 696 (quoting U.S. Sentencing Guidelines Manual

§ 1B1.10(b)(2)(A) (emphasis added in Washington)). The court therefore rejected the

defendant’s claim that, pursuant to Booker, the sentencing court could reduce his sentence

further. This holding forecloses Defendant’s request.

      Accordingly,

      IT IS ORDERED, that Defendant’s motion for a reduction in sentence pursuant to

18 U.S.C. § 3582(c)(2) is DENIED.

                                         s/PATRICK J. DUGGAN
                                         UNITED STATES DISTRICT JUDGE
Copies to:
George Blair, No. 01065-190
FCI Beckley
P.O. Box 350
Beaver, WV 25813

AUSA Patricia Gaedeke




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 ATTACHMENT “A”

188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.))
(Table, Text in WESTLAW), Unpublished Disposition
(Cite as: 188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.)))


 NOTICE: THIS IS AN UNPUBLISHED OPINION.


(The Court's decision is referenced in a “Table of Decisions Without Reported Opinions”
appearing in the Federal Reporter. Use FI CTA6 Rule 28 and FI CTA6 IOP 206 for rules
regarding the citation of unpublished opinions.)


                         United States Court of Appeals, Sixth Circuit.
                     UNITED STATES OF AMERICA, Plaintiff-Appellee,
                                               v.
                      Jeffery Corson BENJAMIN, Defendant-Appellant.
                                         No. 97-2147.


                                          Aug. 26, 1999.


Before SILER and GILMAN, Circuit Judges; GRAHAM,FN* District Judge.


       FN* The Honorable James L. Graham, United States District Judge for the Southern District
       of Ohio, sitting by designation.


                                             ORDER


*1 Jeffery Corson Benjamin, appellant herein, was one of twelve defendants indicted in the United
States District Court for the Eastern District of Michigan for one count of conspiracy to distribute
and possess with intent to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846.
Benjamin was arraigned on February 10, 1997 and pleaded not guilty. A plea agreement signed by
Benjamin on February 5, 1997 was filed with the court on March 19, 1997.


Benjamin entered a guilty plea pursuant to the plea agreement on April 17, 1997. The sentencing

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estimates incorporated in the plea agreement indicated that Benjamin was facing a sentence of
twenty years to life, but that under the “safety valve” provisions, 18 U.S.C. § 3553(f) and United
States Sentencing Guidelines (“U.S.S.G.”) § 5C1.2, Benjamin would probably be placed in a total
offense level of 29, criminal history category III, with a sentencing range of 87 to 108 months. The
only binding sentencing limitation placed upon the court by the plea agreement was that Benjamin
would not receive a sentence greater than the midpoint of the guideline range ultimately found to
be applicable in his case.


The probation officer concluded in the final presentence report that Benjamin was at a total offense
level of 27, criminal history I, resulting in a range of 70 to 87 months, and that Benjamin avoided
a mandatory minimum sentence of 120 months due to qualifying under the “safety valve” provision
in U.S.S.G. § 5C1.2. On September 18, 1997, the government filed a motion for downward departure
under U.S.S.G. § 5K1.1 and recommended a sentence of 54 months. On October 9, 1997, the court
sentenced Benjamin to a term of incarceration of 67 months.


Benjamin filed a notice of appeal on October 20, 1997. On December 17, 1997, Benjamin, who had
retained new counsel, filed motions for bond pending appeal and for resentencing or, in the
alternative, for leave to withdraw his guilty plea. Benjamin contended that government agents had
promised him a sentence of ten years probation. On January 8, 1998, the trial court denied the
motion for bond pending appeal, and denied the motion for resentencing or to withdraw the guilty
plea on the ground that the court lacked jurisdiction to rule on that motion in light of the pending
appeal.


Benjamin has raised six assignments of error. In the first three assignments of error, Benjamin
contends that the district court did not adequately comply with the requirements of Fed.R.Crim.P.
11 in accepting his guilty plea.


The failure to strictly comply with the procedures contained in Rule 11 is subject to a harmless error
analysis. Fed.R.Crim.P. 11(h). In determining whether the trial court properly accepted a defendant's
plea, this court will review the totality of the circumstances, vacating the plea only where there is
a variance from the required procedure and that variance affects a substantial right of the defendant.
United States v. Bashara, 27 F.3d 1174, 1178-79 (6th Cir.1994), cert. denied, 513 U.S. 1115 (1995);

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United States v. Syal, 963 F.2d 900, 904 (6th Cir.1992).


*2 In the first assignment of error, Benjamin contends that the court should have made further
inquiries about whether any additional promises were made to him and about his understanding as
to the extent of a possible downward departure at the request of the government.


Where the parties have reached a plea agreement, Fed.R.Crim.P. 11(e)(2) mandates that “the court
shall, on the record, require the disclosure of the agreement in open court[.]” The trial court in this
case required such disclosure. Counsel for the government stated the terms of Benjamin's plea
agreement on the record, and Benjamin, when asked by the court if the statement was “exactly what
you understand your agreement to be,” responded that it was. Jt.App., Vol. I, p. 119. Benjamin also
acknowledged under oath that he had read and signed the agreement and that it included every
promise or representation that the government had made. Jt.App., Vol. I., pp. 116-117. The trial
court further inquired, “Do you understand that if you're relying on anything not written in here,
you'll never get it enforced in this court, because the court relies on this written paper?”, to which
Benjamin responded affirmatively, Jt.App., Vol. I, p. 117.


The trial court complied with Rule 11(e)(2) by requiring the disclosure of any agreement between
the parties on the record. Benjamin now contends, despite his earlier sworn statements, that he was
promised a sentence of probation, and that the trial court should have made further inquiries.
However, the parties have a duty under Rule 11(e)(2) to inform the court of the extent of their
agreement. United States v. Hernandez, 79 F.3d 1193, 1194 (D.C.Cir.1996). Benjamin gave the trial
court no notice that a more searching inquiry was warranted. See United States v. Farley, 72 F.3d
158, 164 (D.C.Cir.1995).


The trial court fully complied with the disclosure requirements of Rule 11(e)(2), and reversal on that
ground is not warranted. The factual question of whether Benjamin was promised probation has not
been developed in the record currently before this court. The issues of whether Benjamin was
promised probation, and if so, whether this promise rendered his guilty plea involuntary, are
properly left to proceedings on a petition filed under 28 U.S.C. § 2255.




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Benjamin also argues that the trial court should have inquired further into his understanding as to
the possible extent of a downward departure. The plea agreement in this case specified that the
government reserved the right to make the sole determination as to whether the defendant had
provided substantial assistance, and that any motion filed by the government would be limited to a
departure authorized by U.S.S.G. § 5K1.1 and would not include a motion for departure below the
mandatory statutory minimum pursuant to 18 U.S.C. § 3553(e). The plea agreement further stated
that the government retained the power to recommend how much of a departure there should be, but
that the amount of the reduction, if any, would be determined by the court. Benjamin indicated at
the Rule 11 proceeding that he had read the plea agreement and understood its terms. Jt.App., Vol.
I, p. 117. He stated at the time of the plea that he was forty-three years old, and that he had “done
some college.” Jt.App., Vol. I, p. 109. He never told the court that he thought that a downward
departure to a sentence of probation would be recommended. The trial court did not violate Rule 11
by failing to inquire further as to Benjamin's understanding of the scope of a possible downward
departure.


*3 In his second assignment of error, Benjamin contends that the trial court did not adequately
explain the ramifications of the language in the plea agreement whereby the parties agreed that “any
sentence of incarceration shall not exceed the midpoint of the sentencing guideline range that the
court finds to be applicable.” This language amounted to a sentencing recommendation under
Fed.R.Crim.P. 11(e)(1)(C) which was binding on the court. This agreement was placed on the record
at the plea proceedings. Benjamin stated that he had read the plea agreement and that he fully
understood it. He does not suggest how the trial court could have made his understanding of this
provision any clearer. The trial court followed this binding sentencing recommendation by
sentencing Benjamin below the midpoint of the applicable guideline range. This assignment of error
is without merit.


Benjamin argues in his third assignment of error that the trial court did not adequately advise him
that the court was not bound by any requested downward departure by the government. As noted
above, the plea agreement stated that the extent of any downward departure was a matter for the trial
court to determine, and Benjamin indicated he fully understood the plea agreement. Benjamin was
adequately informed that the amount of the reduction for substantial assistance was for the trial court
to determine.




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Benjamin correctly notes that the trial court failed to advise him that if the court did not follow the
government's § 5K1.1 recommendation for the amount of a downward departure, he would have no
right to withdraw his guilty plea.


If the plea agreement includes a sentencing recommendation under Fed.R.Crim.P. 11(e)(1)(B) which
is not binding on the court, “the court shall advise the defendant that if the court does not accept the
recommendation or request the defendant nevertheless has no right to withdraw his plea.”
Fed.R.Crim.P. 11(e)(2). This circuit has thus far declined to determine whether a recommendation
for a downward departure is a “particular” sentence entered pursuant to (e)(1)(B), thereby triggering
the (e)(2) warning requirement. See United States v. Lowery, 60 F.3d 1199, 1206 (6th Cir.1995). The
Eighth Circuit has expressed doubt that a § 5K1.1 recommendation falls within the (e)(2) warning
requirement, see United States v. McCarthy, 97 F.3d 1562, 1575 (8th Cir.1996), and the Ninth
Circuit has concluded that the (e)(2) warning requirement does not apply to § 5K1.1 motions, see
United States v. Uba, 103 F.3d 143, 1996 WL 717103 (unreported) (9th Cir.1996).


Even assuming that the Rule 11(e)(2) warning requirement is applicable to § 5K1.1 motions, the
failure to give such a warning may be harmless error. McCarthy, 97 F.3d at 1575, Lowery, 60 F.3d
at 1206. Here, the plea agreement provided that “the amount of a reduction, if any, will be
determined by the court.” The plea agreement further provided that the “court's failure to follow
such a recommendation, if made, is not a valid basis for defendant to withdraw the guilty plea or to
rescind the plea agreement.” This language is the equivalent of the warning required under Rule
11(e)(2). Benjamin acknowledged at the Rule 11 proceedings that he had read the plea agreement
and that he fully understood it. Under these circumstances, the failure of the trial court to give the
Rule 11(e)(2) warning is harmless error. See McCarthy, 97 F.3d at 1576 (finding harmless error
where the plea agreement contained language of Rule 11(e)(2) warning and defendant indicated that
he had read and understood the plea agreement). The third assignment of error is without merit.


*4 Benjamin's fourth, fifth and sixth assignments of errors concern his motion to withdraw his guilty
plea. In his fourth assignment of error, Benjamin argues that government agents promised him a
sentence of ten years probation in exchange for his assistance, and that he is entitled to specific
performance of this promise. In the fifth assignment of error, Benjamin contends that the trial court
erred in failing to resentence him or to permit him to withdraw his guilty plea, and in not conducting
an evidentiary hearing on his motion to withdraw his plea. In the sixth assignment of error,

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Benjamin contends that he should be permitted to withdraw his plea based upon alleged improper
conduct on the part of government counsel, including the fact that government counsel allegedly
contacted him on two occasions without his attorney being present.


The trial court correctly found that it lacked jurisdiction to consider these matters. Under 18 U.S.C.
§ 3582(c), a trial court may amend a sentence of imprisonment only where one of the circumstances
set forth in that statute is present. These factors include: 1) where the Bureau of Prisons has
requested the modification based upon extraordinary and compelling circumstances warranting a
reduction or the fact that the defendant is at least seventy years of age, has served at least thirty years
in prison and presents no danger to the safety of the community, see 18 U.S.C. § 3582(c)(1)(A)(i)
and (ii); 2) where modification is permitted under Fed.R.Crim.P. 35, see 18 U.S.C. § 3582(c)(1)(B);
or 3) where the guideline sentencing range for the offense of conviction has been retroactively
lowered, see 18 U.S.C. § 3582(c)(2). None of those factors is applicable here, and the trial court
lacked jurisdiction to resentence Benjamin.


The trial court also properly declined to consider Benjamin's motion to withdraw his guilty plea on
the basis of lack of jurisdiction. Fed.R.Crim.P. 32(e) (formerly designated as Rule 32(d)) provides
that after sentencing, “a plea may be set aside only on direct appeal or by motion under 28 U.S.C.
§ 2255.” See also United States v. Todaro, 982 F.2d 1025, 1028 (6th Cir.), cert. denied, 508 U.S.
943 (1993)(after sentencing, guilty plea can be set aside only on direct appeal or via a § 2255
motion); United States v. Davis, 954 F.2d 182, 184 (4th Cir.1992)(same). After sentencing, a district
court lacks jurisdiction to rule on a motion to set aside a guilty plea. Farley, 72 F.3d at 162; United
States v. Baker, 790 F.2d 1437, 1438 (9th Cir.1986). This court also lacks jurisdiction to consider
the merits of Benjamin's motion to withdraw his guilty plea. Baker, 790 F.2d at 1438. The trial court
properly denied Benjamin's motion for resentencing or to withdraw his guilty plea without
conducting an evidentiary hearing. The claims in Benjamin's fourth through sixth assignments of
error must be asserted in a § 2255 petition. Assignments of error four through six are denied.


*5 Accordingly, the judgment and commitment order entered on October 9, 1997 and the order of
January 8, 1998 denying the motion for resentencing or for withdrawal of guilty plea on the basis
of lack of jurisdiction are hereby AFFIRMED.




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